Case 3:19-cv-07071-SI   Document 359-17   Filed 12/01/23   Page 1 of 2




                 Exhibit 16
   Case 3:19-cv-07071-SI          Document 359-17        Filed 12/01/23
                                                                        f:10538060
                                                                            Page 2 of 2


                                                 Jo/31o1Y                                 FILED
                            CERTIFICATE OF AMENDMENT                       In the office ot the Sscretary of Stale
                                                                                  oi the Stale of C&lilom�:1
                                        OF
                            ARTICLES OF INCORPORATION                                        JAN 2.11000
                                                                               ,JJ/
                                                                               BILL JOHES, Se 1J' ry ·et Slate
The undersigned certifies that:


1. He is the president and secretary, of Online NIC Inc.. , a California corporation.


2. Article 1 ofthe Articles oflncorporation of this corporation is amended to read as
   follows:

                The name of this corporation is ONLINENIC INC.


3. The foregoing amendment of Articles of Incorporation has been duly approved by the
   board of directors.


4. The corporation has issued no shares.



We further declare under penalty of perjury under the laws of the State of California that the
matters set forth in this certificate are true and correct ofour own knowledge.




         I -_I ']_-_e,_v ____
DATE: ____




                                                             SHAO HUI GONG, President




                                                                                       ONLINENIC 000071
